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                                                                          6                               IN THE UNITED STATES DISTRICT COURT
                                                                          7
                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                                          8
                                                                          9   ED DAIE,
                                                                         10                  Plaintiff,                                   No. C 16-02205 WHA
                                                                         11
United States District Court




                                                                                v.
                               For the Northern District of California




                                                                         12   INTEL CORPORATION, THE REED                                 ORDER RE MOTION TO
                                                                         13   GROUP, LTD., CLAIM APPEAL                                   DISMISS AND MOTION TO
                                                                              FIDUCIARY SERVICES, INC., and                               TRANSFER VENUE
                                                                         14   DOES 1–50,

                                                                         15                  Defendants.
                                                                                                                          /
                                                                         16
                                                                         17                                          INTRODUCTION

                                                                         18          In this action for intentional infliction of emotional distress arising out of the

                                                                         19   administration of a disability plan governed by the Employee Retirement Income Security Act

                                                                         20   of 1974, defendants move to dismiss on preemption grounds. Defendants alternatively move to

                                                                         21   dismiss for improper venue or to transfer the action to the District of Arizona. For the reasons

                                                                         22   stated below, defendants’ motion to transfer is GRANTED. The motion to dismiss will be for the

                                                                         23   District of Arizona to decide.

                                                                         24                                             STATEMENT

                                                                         25          Our plaintiff Ed Daie, a former employee of defendant Intel Corporation and a resident

                                                                         26   of Arizona, brings claims for intentional infliction of emotional distress arising out of the

                                                                         27   administration of the Intel Corporation Long Term Disability Plan (the “Plan”). Daie worked

                                                                         28   for Intel for twenty-seven years and worked the final seven years of his career working at home
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                                                                          1   in Arizona as a server memory technology director. Daie applied for long-term benefits from
                                                                          2   the Plan after taking an unpaid leave of absence from his position.
                                                                          3           At all relevant times, Intel self-funded the Plan pursuant to the Employment Retirement
                                                                          4   Income Security Act of 1974. Intel delegated all claims administration and discretionary
                                                                          5   authority to The Reed Group, Ltd., and Claim Appeals Fiduciary Services, Inc. (so all agree
                                                                          6   there is no conflict of interest in the administration of Daie’s claims).
                                                                          7           Reed was and remains a Colorado corporation with its headquarters in Colorado. CAFS
                                                                          8   was and remains a Colorado corporation with its headquarters in Georgia. Neither Reed nor
                                                                          9   CAFS performed any claims administration in California. Their only contacts with California
                                                                         10   arguably relating to this action were their respective contractual relationships with the Plan,
                                                                         11   which had been formed in California, and their communications with Daie’s counsel (Onada
United States District Court
                               For the Northern District of California




                                                                         12   Decl. ¶¶ 3–4; Zimon Decl. ¶¶ 2–4).
                                                                         13           The complaint alleges that throughout the process of determining Daie’s claim for long-
                                                                         14   term disability benefits under the Plan, Reed and CAFS, as claims administrators for the Plan,
                                                                         15   engaged in outrageous intentional conduct with the aim of forcing Daie to drop his claim for
                                                                         16   benefits. The alleged conduct included inter alia, accusing Daie of lying about his disability,
                                                                         17   intentionally misstating his physicians’ statements, and pressuring him to undergo medical
                                                                         18   examinations without considering their results. In this action, Daie asserts a claim for
                                                                         19   intentional infliction of emotional distress (Compl. ¶¶ 30–31, 32–38).
                                                                         20                          *                          *                          *
                                                                         21           The procedural history of Daie’s disputes relating to the Plan and the administration
                                                                         22   thereof is bizarre.
                                                                         23           In July 2015, Daie filed an action for intentional infliction of emotional distress in San
                                                                         24   Francisco Superior Court against our defendants as well as Aetna Life Insurance Company,
                                                                         25   which is not a party to this action. The defendants removed the action to federal court here in
                                                                         26   San Francisco, where it was assigned to the undersigned judge (Case No. 15-3813).
                                                                         27           Defendants contended that removal was proper because Daie’s claims were completely
                                                                         28   preempted by ERISA. Daie moved to remand the action, and defendants moved to dismiss the


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                                                                          1    action for improper venue. Defendants also moved to transfer the action to the District of
                                                                          2    Arizona. In November 2015, an order held that ERISA did not completely preempt Daie’s
                                                                          3    claims, so defendants’ removal was improper. That order remanded Daie’s IIED action to state
                                                                          4    court.
                                                                          5             One week later, Daie filed an action in federal court in San Francisco for the recovery of
                                                                          6    benefits under ERISA, naming Intel, Reed, CAFS, and the Plan as defendants (Case No. 15-
                                                                          7    5255). The new action was related to Daie’s first IIED action and reassigned to the
                                                                          8    undersigned. Defendants again moved to transfer to the District of Arizona. On February 18,
                                                                          9    2016, an order denied the motion to transfer, inasmuch as the case would be decided based on
                                                                         10    the administrative record, so a transfer would have wasted judicial resources.
                                                                         11             On February 22, 2016, the San Francisco Superior Court dismissed Daie’s IIED action
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                               For the Northern District of California




                                                                         12    for forum non conveniens, holding that “the balance of private and public interests tipp[ed]
                                                                         13    decidedly in favor of [Arizona]” (Dkt. No. 14-1). Notwithstanding the state court decision
                                                                         14    holding that his IIED claim belonged in Arizona, Daie commenced the instant action here in
                                                                         15    federal court in San Francisco in April 2016, asserting nearly identical IIED claims. The action
                                                                         16    was related to Daie’s earlier actions and reassigned to the undersigned.
                                                                         17             Defendants now move to dismiss for improper venue or to transfer it to the District of
                                                                         18    Arizona. Defendants concurrently move to dismiss on the theory that Daie’s claims are subject
                                                                         19    to conflict preemption under ERISA. This order follows full briefing and oral argument. Oral
                                                                         20    argument on the parties’ cross–motions for summary judgment in Daie’s action for the recovery
                                                                         21    of benefits occurred on the same day as oral argument on the instant motions. An order granted
                                                                         22    summary judgment for the defendants in that action the same day as this order.1
                                                                         23                                                     ANALYSIS
                                                                         24             Defendants move to dismiss the action for improper venue under Rule 12(b)(3).
                                                                         25    Pursuant to Section 1391(b) of Title 28 of the United States Code, venue is proper in:
                                                                         26
                                                                         27            1
                                                                                         ERISA preempts state law in two distinct ways. Defendants do not seek to revive their theory,
                                                                              already rejected, that Daie’s claim is completely preempted by ERISA pursuant to ERISA Section 504(a).
                                                                         28   Rather, they contend that his claim is preempted because it “relates to” an ERISA plan pursuant to ERISA
                                                                              Section 514(a). See also Ingersoll-Rand Co. v. McClendon, 498 U. S. 133, 139, 141 (1990).

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                                                                          1                       (1) a judicial district in which any defendant resides, if all
                                                                                                  defendants are residents of the State in which the district is
                                                                          2                       located;
                                                                          3                       (2) a judicial district in which a substantial part of the events or
                                                                                                  omissions giving rise to the claim occurred, or a substantial part of
                                                                          4                       property that is the subject of the action is situated; or
                                                                          5                       (3) if there is no district in which an action may otherwise be
                                                                                                  brought as provided in this section, any judicial district in which
                                                                          6                       any defendant is subject to the court's personal jurisdiction with
                                                                                                  respect to such action.
                                                                          7
                                                                               If venue is improper, “the case must be dismissed or transferred under” Section 1406(a) of Title
                                                                          8
                                                                               28 of the United States Code. Atl. Marine Const. Co. v. U.S. Dist. Court for W. Dist. of Texas,
                                                                          9
                                                                               571 U.S. ___, 134 S. Ct. 568, 577 (2013). When evaluating a motion to dismiss for improper
                                                                         10
                                                                               venue, a court may consider facts outside the pleadings. Doe 1 v. AOL, LLC, 552 F.3d 1077,
                                                                         11
United States District Court




                                                                               1081 (9th Cir. 2009).2
                               For the Northern District of California




                                                                         12
                                                                                        Daie contends that venue in this district is proper because a substantial part of the events
                                                                         13
                                                                               giving rise to his claim occurred here. Daie is incorrect, as now discussed.
                                                                         14
                                                                                        Daie avers that the “primary defendant, Intel Corporation” is headquartered in Santa
                                                                         15
                                                                               Clara and that it issued his employment contract and subscribed him to the Plan from that
                                                                         16
                                                                               location. He also notes that Intel drafted the ERISA plan in-house in Santa Clara and that it
                                                                         17
                                                                               self-funds the Plan. Thus, he argues, a substantial part of the conduct giving rise to his claims
                                                                         18
                                                                               occurred in California.
                                                                         19
                                                                                        Daie’s argument that Intel is the “primary defendant” is unsupported. Intel’s role in this
                                                                         20
                                                                               action is as the entity that contracted with the alleged direct tortfeasors — Reed and CAFS. Far
                                                                         21
                                                                               from being a “primary” defendant Intel appears to be little more than a nominal defendant.
                                                                         22
                                                                                        It is ironic that Daie relies so heavily on conduct related to the Plan in seeking to
                                                                         23
                                                                               establish venue in his opposition to defendants’ motion to dismiss for improper venue because
                                                                         24
                                                                               in his opposition to defendants’ concurrently-filed motion to dismiss on preemption grounds he
                                                                         25
                                                                               strenuously seeks to distance the basis for his claim from the Plan. Indeed, he must distance his
                                                                         26
                                                                         27             2
                                                                                          Notably, “the proper venue of a removed action is ‘the district court of the United States for the
                                                                              district and division embracing the place where such action is pending.’” Polizzi v. Cowles Magazines, Inc.,
                                                                         28   345 U.S. 663, 666 (1953) (quoting 28 U.S.C. 1441(a)). Thus, venue was proper (though perhaps not
                                                                              convenient) as to Daie’s first IIED action.

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                                                                          1    claim from the Plan because if “the court’s inquiry must be directed to the plan” to adjudicate
                                                                          2    Daie’s claim, the claim is preempted by ERISA. Ingersoll-Rand, 498 U.S. at 140. Thus, while
                                                                          3    this order declines to opine on whether Daie has alleged any conduct that can survive ERISA
                                                                          4    preemption, reserving that issue for the transferee court, it rejects Daie’s arguments that the
                                                                          5    formation of the Plan and its administrative structure constituted any part of his claims.
                                                                          6             Daie’s tort claim may only survive preemption to the extent it “does not depend on or
                                                                          7    derive from his claim in any meaningful way.” Dishman v. UNUM Life Ins. Co. of Am., 269
                                                                          8    F.3d 974, 983 (9th Cir. 2001). To the extent he has alleged any such conduct, its impact was
                                                                          9    undisputedly felt by Daie in Arizona. No relevant conduct occurred in California. Thus,
                                                                         10    because a substantial part of the allegations that give rise to Daie’s claim occurred in Arizona,
                                                                         11    and none occurred in California, venue is improper in the Northern District of California.
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                                                                         12             Rather than dismiss this action entirely, requiring the parties to start from scratch a third
                                                                         13    time, however, this order transfers the action to the District of Arizona.3
                                                                         14                                                    CONCLUSION
                                                                         15             For the reasons stated above, this action is hereby TRANSFERRED to the District of
                                                                         16    Arizona. This order does not address defendants’ motion to dismiss, which should be re-
                                                                         17    noticed for the transferee court. The Clerk shall please CLOSE THE FILE.
                                                                         18
                                                                         19             IT IS SO ORDERED.
                                                                         20
                                                                         21    Dated: August 10, 2016.
                                                                                                                                                   WILLIAM ALSUP
                                                                         22                                                                        UNITED STATES DISTRICT JUDGE
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                                                                         24
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                                                                                           The conclusion herein is not at odds with the order denying the motion to transfer Daie’s action for
                                                                         27   the recovery of benefits. First, venue was proper in that case, inasmuch as ERISA’s venue provision authorizes
                                                                              suit, inter alia, “where a defendant resides or may be found.” 29 U.S.C. 1132(e)(2). Second, Daie’s claim for
                                                                         28   the recovery of benefits relied entirely on the administrative record, so a transfer would have been of minimal
                                                                              benefit.

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